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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                         )
ANTHONY PERRY,                           )
                                         )
                 Plaintiff,              )
                                         )
         v.                              )      Civil Action No. 17-cv-1932 (TSC)
                                         )
                                         )
WILBUR ROSS                              )
United States Secretary of Commerce,     )
                                         )
                 Defendant.              )
                                         )

                                         ORDER

         For the reasons set forth in the accompanying Memorandum Opinion,

Defendant’s Motion for Summary Judgment, ECF No. 35, is hereby GRANTED and

Plaintiff’s Motion for Summary Judgment, ECF No. 30, is hereby DENIED.

         This action is hereby DISMISSED with prejudice. This is a final appealable

order.

         The Clerk of the Court shall mail a copy of this order and Memorandum Opinion

to Plaintiff at his address of record.




Date: September 30, 2022


                                         Tanya S. Chutkan
                                         TANYA S. CHUTKAN
                                         United States District Judge
